Case 1:19-cr-00253-TSE Document 380 Filed 08/03/20 Page 1 of 3 PageID# 1940




                  IN THE UNITED STATES DISTRICT COURT FOR THE

                             EASTERN DISTRICT OF VIRGINIA
                                                                                      e E i w
                                      Alexandria Division



                                                                                  CLERK, U.S. DISTRICT COURT
                                                                                     ALEXANDRIA. VIRGINIA


   UNITED STATES OF AMERICA

                   V.                           Criminal No. l:19-CR-253


        DALLMANN,ETAL.




                                PR AECIPE FOR SUBPOENA


       It is respectfully requested that the Clerk ofsaid Court issue subpoenas as indicated
below for appearance before said Court at Alexandria, Virginia in United States District Court at
2:00 o'clock p.m.,on the 17th day ofSeptember 2020,then and there to testify on behalfofthe
United States:

                                        1 sets(2 blanks'!


       This 3    day ofJuly,2020.

                                                     Respectfully submitted,

                                                    0.Zachary Terwilliger
                                                     United States Attorney
                                                                            Digitally signed by
                                                                            ALEXANDER BERRANG
                                             By:
                                                     Alexander P. Berrang
                                                     Assistant United States Attorney
        Case 1:19-cr-00253-TSE Document 380 Filed 08/03/20 Page 2 of 3 PageID# 1941


AO 89 (Rev.08/09)Subpoena to Testify at a Hearing or Trial in a Criminal Case


                                       United States District Court
                                                                         for the

                                                         Eastern District of Virginia
                  United States ofAmerica
                                 V.
                                                                                   CaseNo.1:19-CR-253
                     DALLMANN,ETAL
                             Defendant


                     SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

To:




          YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until thejudge or a court officer
allows you to leave.
Place ofAppearance:                District Court         •                        Courtroom No.: jyjjge j.S. Eiiis, III., 9th floor
                            401 Courthouse Square
                            Alexandria, VA 22314                                   Date and Time: September 17. 2020, 2:00 p.m.

          You must also bring with you the following documents,electronically stored info.miation, or objects(blank ifnot
applicable):




          (SEAL)


Date:          07/31/2020
                                                                                   CLERK OF COURT



                                                                                              Sisncture ofClerk or Deputy Clerk


                                                                                                                             the
The name,address, e-mail, and telephone number ofthe attorney representing(name ofparty)
United States of America                            ,v/ho requests this subpoena, are:

           Aiexander P. Benrang
           Assistant United States Attorney
           2100 Jamieson Avenue
           Alexandria, VA 22314
          (703)299-3700
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AO 89 (Rev.08/09)Subpoena to Testi^f at a Hearing or Trial in a Criminal Case(Page 2)

CaseNo.1:19-CR-253


                                                             PROOF OF SERVICE


          This subpoena for(name ofindividual and title, ifany)
was received by me on(date)

          □ I served the subpoena by delivering a copy to the named person as follows:


                                                                                  on (date)                                    ; or

          □ I returned the subpoena unexecuted because:



          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day*s attendance, and the mileage allowed by law, in the amount of
          $


My fees ^e $                                    for travel and $                              for services, for a total of $          o.OO


          I declare under penalty.of peguiy that this information is true.


Date:
                                                                                                 Server's signature



                                                                                               Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etd:
